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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

GREGORY MICHAEL SONS                                                       PLAINTIFF
#565851

v.                      CASE NO. 3:19-CV-00341-BSM

ANTHONY CARTER, APRN,
Craighead County Detention Center                                        DEFENDANT

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 18th day of September, 2020.


                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
